     Case 1:23-cv-06414-JGK   Document 119   Filed 02/22/24   Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BANCO SAN JUAN INTERNACIONAL, INC.,

                       Plaintiff,
                                                 23-cv-6414 (JGK)
           - against -
                                                 ORDER
THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

                       Defendants .

JOHN G. KOELTL, District Judge:

     The plaintiff may file an amended complaint by February 29,

2024. The defendants may answer or move to dismiss by March 22,

2024. If there is a motion to dismiss , the plaintiff may respond

by April 12, 2024. The defendants may reply by April 26, 2024.

SO ORDERED.

Dated :   New York, New York
          February 22, 2024


                                       United States District Judge
